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                                                           Clerk, U.S. District Court, ILCD

                  UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF ILLINOIS

JEFFREY D. ORR, et al.,                 )
                                        )
                 Plaintiffs,            )
                                        )
           v.                           )      08-2232
                                        )
WILLARD O. ELYEA M.D., et al.,          )
                                        )
                 Defendants.            )

                ORDER ON PLAINTIFFS’ MOTION FOR
                  TEMPORARY INJUNCTIVE RELIEF

                                   I.
      This is a case brought under the provisions of 42 U.S.C. §
1983. In this potential class action by numerous inmates of the
Illinois Department of Corrections (IDOC) claiming deliberate
indifference to their serious medical conditions, the plaintiffs have
moved the court for immediate injunctive relief (d/e 397). They
seek a court order directing the Illinois Department of Corrections
to follow the guidelines promulgated by the American Association
for the Study of Liver Disease (AASLD). Plaintiffs ask for treatment
with the direct-acting antiviral drugs for all IDOC inmates with at
least six months left to serve on their sentence. (Pls.’ Brief, p. 9-10,
d/e 424.) The AASLD guidelines call for treatment of all patients
with Hepatitis C, while the IDOC guidelines generally do not start
treatment until an inmate reaches fibrosis level 3.1 2

     The disagreement of the parties centers on two aspects of
treatment of the disease. First, when should treatment begin, and
second, how long must the patient be available for completion of the
treatment and follow up examination. The Plaintiffs contend that
treatment should begin immediately regardless of fibrosis level. The
defendants insist that treatment beginning at fibrosis level 3 is

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appropriate and that the patient must remain in the IDOC for
completion of the treatment and follow up examination.

      The question presently before the court is: what are the
appropriate medical protocols for the diagnosis and treatment of
Hepatitis C? The court concludes that the present record is
sufficient for the court to find what the appropriate medical
protocols are for the diagnosis and treatment of Hepatitis C, but the
record is insufficient for the court to grant mandatory relief to any
particular plaintiff or group of plaintiffs. As will be further
explained in this order, mandatory relief requires more specific
identification of the individuals or groups of individuals. See 18
U.S.C. § 3626(a)(2)(“Preliminary injunctive relief must be narrowly
drawn, extend no further than necessary to correct the harm the
court finds requires preliminary relief, and be the least intrusive
means necessary to correct that harm”); Fed. R. Civ. P. 65(d)(order
directing injunction must be specific).

                                  II.

     Nine physicians have testified in this case:

      1. Steve Meeks, M.D. is the current, relatively recent medical
director of the IDOC. He is board certified in emergency medicine
and embraces the current protocols for treatment of Hepatitis C.
Dr. Meeks oversees the provision of medical services for IDOC, but
the actual provision of those services are performed by Wexford
Health Sources, Inc. (Wexford). (Meeks Trans., p. 7, d/e 428.) He
inherited the IDOC’s Hepatitis C treatment policy. Based on his
understanding of that policy, the policy appears medically
appropriate and does not place an inmate’s health at a substantial
risk. He stated that he relies on Dr. Young and Dr. Patel to
determine the treatment protocol. Id. at 31.

    2. Michael Dempsey, M.D. He is the Chief of Psychiatry for the
IDOC. Before that he was the acting IDOC Director for about five
months. He testified to the division of responsibilities between

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IDOC and Wexford. IDOC employs two physicians. IDOC also
employs a health care administrator at each prison and some of the
nurses and pharmacy technicians. Wexford provides the physician
at the prison, who is overseen by a regional medical director, also
employed by Wexford. Then there is a corporate medical director in
Pitttsburgh. The IDOC has a contractual arrangement with other
parties besides Wexford. For example, there is a contractual
arrangement between IDOC and the University of Illinois in Chicago
(UIC) regarding dialysis services.

      Dr. Dempsey testified that the 2015 fiscal year budget for the
provision of medical services for IDOC inmates was $170 million
dollars. Fiscal year 2017 is near $200 million dollars. (Dempsey
Trans., p. 53, d/e 428.) The IDOC requests appropriations from the
Illinois General Assembly to pay for UIC services. (Summary of
Responsibilities, Ex. 7.) Roughly, Dr. Dempsey estimated that
about 80 inmates with Hepatitis C were treated in 2016. He did not
dispute the estimate of Plaintiff’s counsel that 4,000 inmates in
2016 had Hepatitis C. (Dempsey Trans., p. 78, d/e 428.)

      Dr. Dempsey is of the opinion that some inmates should not
receive Hepatitis C treatment because they do not have the support
system in place when they are released to avoid the behaviors that
exposed them to Hepatitis C in the first place. (Meeks Trans., p. 68,
d/e 428.) A person can be reinfected with Hepatitis C after being
cured through treatment.

      3. Scott Cotler, M.D. He is a physician, board certified in
internal medicine, gastroenterology, and transplant hepatology. He
is now the Director of the Division of Hepatology at Loyola in
Chicago, but before that he worked for the University of Illinois to
help establish the Telemed program with IDOC. (Cotler Trans., p.
75-76, d/e 376.) If the screening criteria are met under the
Hepatitis C guidelines, inmates are referred to consultations with
UIC physicians. Id. at 77. Dr. Cotler says it is appropriate to wait
to begin treatment on a Hepatitis C patient until the patient reaches
a fibrosis level of 3 because the disease is a slowly progressing

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disease. Id. at 80-82; Cotler Trans. 2, p. 97, d/e 428. He testified
that, “[i]n a resource limited system, [the IDOC treatment protocol]
is good common sense, it’s good medicine, and it protects the
patients from developing the outcome that we are trying to avoid, so
I think that it is completely appropriate under the circumstances”.
(Cotler Trans. 2, p. 98, d/e 428.) In his opinion, close monitoring of
inmates at stages 0-2 will identify those who have extrahepatic
conditions that might warrant earlier treatment. Id. p. 100. He
believes that the “end result tends to be the same” whether
treatment is given at the early stages or later stages. Id. p. 101. He
also expects that more people will be treated as the cost of the
treatment decreases. Id. p. 109, 111.

      4 & 5. Jeremy Young, M.D. and Mahesh Patel, M.D. Both are
physicians at UIC. Dr. Patel is board certified in infectious
diseases, pediatrics, and internal medicine. Dr. Young is board
certified in internal medicine and infectious diseases. Through the
Telemed program between UIC and IDOC, they help manage the
medical care for IDOC inmates with HIV and Hepatitis C. (Patel
Trans., p. 100; Young Trans., p. 139, d/e 376.) Under this
program, a physician or medical provider working at an IDOC
prison (most likely a physician employed by Wexford) may refer an
inmate for a video consultation with Drs. Patel or Young for
consideration of initiating Hepatitis C treatment. Id. at 101-02.
The UIC doctors have nothing to do with selecting which inmates
are referred to UIC to be considered for Hepatitis C treatment,
though they do help create the standards used by the medical
providers at the prison to determine who should be referred. Most
inmates the UIC clinic sees are stage 3 or 4, with some stage 2 if
certain additional factors are present, such as the inmate also has
HIV. (Patel Trans. 2, p. 70, d/e 427.) The UIC doctors prescribe the
Hepatitis C medicines, which are delivered overnight to the prison
and administered by the prison nurse. (Young Trans. 2, p. 75, d/e
427.) The UIC doctors then manage the patient and order labs.
The Wexford physicians on site review the notes but are not directly
involved in managing the patient during treatment. (Young Trans.
2, p. 86, d/e 427.)

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       Drs. Patel and Young have participated in modifying the IDOC
medical protocols for treating Hepatitis C as treatments have
advanced. Dr. Patel does not believe any medical harm occurs
without treatment between stage 1 and stage 2, and also believes
that there is probably not significant harm without treatment from
stage 2 to stage 3. (Patel Trans., p. 117-18, d/e 376.) Similarly, Dr.
Young is not aware of any peer reviewed study showing a significant
health benefit by starting treatment at stage 1 or 2 versus stage 3 in
the normal patient. (Young Trans., p. 157-158, d/e 376.) Dr. Patel
testified that eighty percent of patients with Hepatitis C have no
complications. (Patel Trans. 2, p. 82, d/e 427.) Dr. Patel
acknowledged that cost is a factor in determining who gets
treatment and that, from a medical standpoint, there is no reason
not to treat regardless of fibrosis level. Id. at 124, 130. Neither Dr.
Young or Dr. Patel have anything to do with how much money is
allocated to treating inmates with Hepatitis C or “how far down the
list” treatment goes. (Young & Patel Trans. 2, p. 75, d/e 427.)

     Dr. Young described the guidelines as prioritizing who receives
treatment because the cost necessitates that prioritization, rather
then excluding anyone from treatment. (Young Trans. 2, p. 73-74,
d/e 427.)

      6. Lara Strick, M.D. Dr. Strick is board certified in infectious
disease and works for the Washington State Department of
Corrections as an infectious disease consultant. (Strick Trans., p.
164, d/e 376.) She is of the opinion that the IDOC’s Hepatitis C
treatment guidelines are in line with guidelines from other state
prisons and the federal bureau of prisons. She is also of the
opinion that there is no serious risk of harm to health by waiting
until stage 3 to treat. Id. at 173-74.

      7. David Thomas, M.D., M.P.H. Dr. Thomas is one of the two
court recruited experts in the field of liver diseases. He the Director
of the Division of Infectious Diseases at Johns Hopkins Medicine.
He is a specialist in the treatment of liver disease and is board
certified in infectious diseases and internal medicine. He was a

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member of the AASLD panel that drafted that association’s medical
protocols for the treatment of Hepatitis C in the past but is not
currently on that board and does not speak on behalf of the
association.

     Dr. Thomas testified in his deposition that the current AASLD
guidelines set forth a consensus of the standard of care for patients
with Hepatitis C. He is, quite naturally, a staunch supporter of the
AASLD medical protocols for the treatment of Hepatitis C.

      The AASLD guidelines recommend treatment for all patients
with Hepatitis C except for patients with short life expectancies that
cannot be prolonged with intervention. (Thomas Dep. 6, p. 16, d/e
382.) The new therapies allow for a 90 percent cure rate (total
eradication) with minimal side effects. Id. at 7. Curing the disease
reduces the risk of liver cancer and liver failure by 80-90 percent as
well as reducing the risk of developing conditions associated with
the disease such as non-Hodgkin’s lymphomas, renal disease, and
diabetes. Id. at 8. Delaying treatment can lead to liver disease,
cirrhosis, liver cancer or those other conditions that might not be
reversible by treatment. Id. at 10-11. Dr. Thomas stated, “[E]ven at
stage 3 there’s a clear risk, increased risk, of liver cancer. So if you
wait till stage 4, then, you miss all – even in stage 2 you can miss
about 20 percent of the people you think are stage 2 are actually
stage 3”. Id. at 34. Patients treated at stage 3 or 4 should be
monitored indefinitely every 6 months for liver cancer. Id. at 40.
Patients treated at stages 1-2 do not necessarily need follow-up
monitoring if the treatment is successful. Id. at 41; Thomas Trans.
2, p. 7, d/e 101.

      If Dr. Thomas has a patient at stage 3 and insurance denies
coverage, Dr. Thomas still prescribes the medicines and informs the
insurance company in writing that the company is outside the
standard of care. Id. at 35. If that does not work, Dr. Thomas will
try to get the medications for free through an expanded access
program. Id. at 35.


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       Prioritization was initially included in the AASLD guidelines
when the new drugs were available, but that section has now been
removed. Id. at 21. Dr. Thomas was able to treat everyone in his
practice within a few weeks of the new drugs’ availability. Id. at 20.
The guidelines still acknowledge, though, that in some settings
prioritization may be unavoidable. Id. at 24. Dr. Thomas agrees
that it would be a priority to treat patients with fibrosis levels of 3
and 4 before those with levels 0-2. Id. at 33. However, stage 2
still shows that the disease has progressed. (Thomas Trans., p. 27,
d/e 427.)

      Some State’s medicaid programs cover treatment at any stage,
some state’s medicaid programs do not cover for stages 1 and 2,
and other states start at later stages. Id. at 23. Dr. Cotler testified
that the State of Illinois covers Medicaid patients only once they
reach stage 4. (Cotler Trans. 2, p. 99, d/e 428.) That appears to
have changed in December 2016: direct-acting antivirals are
approved for patients with stage 3 or 4. Ill. Dept. Healthcare and
Family Services website, www.Illinois.gov/hfs. Plaintiffs brought to
the court’s attention a Washington State’s district court order
granting Medicaid recipients a preliminary injunction to treat their
Hepatitis C without regard to fibrosis level. B.E. v. Teeter, C16-
227-JCC, 2016 U.S. Dis. LEXIS 70021 (Western District of
Washington, 5/27/16 Order). Plaintiffs point to a statement by the
Center for Medicaid & Chip Services (U.S. Department of Health
and Human Services) expressing concern that states limiting
treatment to only stages 3 and 4 were in violation of the rules
regarding Medicaid drug coverage. (d/e 424-2, p. 2.)

       Dr. Thomas has heard that several states have been able to
obtain a price of $20,000.00 per treatment, which is less than a
quarter of the average wholesale price of $88,000.00. Id. at 27.
However, the guidelines acknowledge that prisons might be in a
weaker bargaining position. Id. at 30. Dr. Meeks thought the cost
of treatment was $60,000.00 per patient, paid to UIC. (Meeks
Trans., p. 37, d/e 428.) Dr. Meeks does not believe the money goes
through Wexford. Id. at 40. The pricing information provided by

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the IDOC does not enable the court to determine how much it
would cost to treat the average inmate with a fibrosis level of 2.

      8. Andrew Batey, M.D. Dr. Batey is the other court-recruited
expert on treatment of Hepatitis C. Dr. Batey is a practitioner in
the Carle Clinic Foundation in Urbana, Illinois. He is triple boarded
in gastroenterology, hepatology and internal medicine. Seventy
percent of his patients are under treatment for liver diseases. Dr.
Batey supports the AASLD protocols. Dr. Batey recommends
treatment for all inmates with Hepatitis C having at least one year
to serve on their sentence. (Dr. Batey’s 1/5/15 letter)(“[I]t is my
opinion that ALL patients (assuming no contraindications to
medicines) should be considered for therapy irrespective of the
stage of fibrosis.”).

      The defendants’ brief in opposition to the plaintiffs’ request for
temporary relief quotes Dr. Batey as testifying that waiting to treat
until fibrosis level 3 or 4 is reached does not raise a risk of serious
harm to the patient. (d/e 40, p. 10.) That is an incomplete
representation of Dr. Batey’s opinions. It comes from a discussion
with Dr. Batey in the transcript of the complications from
medications that may arise at different levels of fibrosis. Dr. Batey’s
testimony is simply stated as the earlier you begin treatment after
diagnosis, the better off the patient will be. Dr. Batey testified that
eradicating the virus is more likely with a lower viral load and that
the virus causes the cells of the liver to become inflamed, leading to
scarring and hardening of the liver. A fibrosis level of 0 means no
scarring. A fibrosis level of 4 means the liver is completely scarred.
(Batey Trans., p. 24-25, d/e 376.) If treatment begins at fibrosis
level 1 or 2, the liver can regenerate healthy tissue and the fibrosis
can revert back to a level of 0. Id. at 25-26. Reversion is still
possible, but more difficult, at stage 3 or 4. Id. at 26. One of the
risks of waiting is that it is not possible to predict the progression in
any one patient, so monitoring instead of treating could lead to
unnecessary scarring of the liver. Id. at 47. Another risk of waiting
to stage 3 is that the test can “understage,” meaning that a patient
with stage 3 is actually at stage 4. Id. at 49. Dr. Batey

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acknowledged that the cost of the treatment would likely make it
prohibitive to treat everyone and that universal treatment at every
stage was currently a hope rather than a reality. Id. at 30, 33-34,
63.

       9. Martin Gary Prosky, M.D. Dr. Prosky is a board-certified
gastroenterologist and hepatologist. About one-quarter of his
patients have some kind of liver disease, mostly Hepatitis C.
(Prosky Trans., p. 181, d/e 376). Dr. Prosky testified that the
earlier treatment begins, the better the chance is of curing the
disease and avoiding complications. Id. Dr. Prosky recommends
that treatment be initiated immediately regardless of fibrosis level if
an inmate has at least 6-9 months to serve. (Prosky Trans., p. 185-
86, d/e 376). He testified that the risk of waiting is decreased
effectiveness of the treatment and the possibility of irreversible liver
disease, cancer and cirrhosis complications. (Prosky Trans. 2, p.
37, d/e 427.) He agreed with Defendants that the cure rate is high
even at stage 4, but disagreed that no harm occurred by waiting
because by stage 4 “you have allowed them to get to the stage of
cirrhosis, their lifelong risk of liver cancer and other problems are
now irreversible”. (Prosky Trans. 2, p. 62, d/e 427.) Dr. Prosky
testified that Hepatitis C is a “major public health problem” and the
“leading cause for liver transplantation in the United States.” Id. at
47. Dr. Prosky believes the six to seven months’ time should be
sufficient for work-up, treatment, and follow-up: 4 weeks work-up,
12 weeks treatment, follow-up in 12 weeks. (Prosky Trans. 2, p.
51-52, d/e 427.)

                                 III.

      What is apparent from the testimony of the physicians called
by the defendants is that their opinions on appropriate medical
protocols for IDOC inmates are driven by the availability of funding.
On the other hand, the plaintiffs’ expert witness and the court’s two
recruited experts gave their opinions without regard to where the
infected person was and without regard to the availability of
funding. In other words , the court’s experts and the plaintiffs’

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expert based their opinions only on medical grounds while the
defendants’ opinions included the availability of funding. That is
not a medical reason but a pragmatic, political and societal reason.
See Roe v. Elyea, 631 F.3d 843, 863 (7th Cir. 2011) (“Although
administrative convenience and costs may be, in appropriate
circumstances, permissible factors for correctional systems to
consider in making treatment decisions, the Constitution is violated
when they are considered to the exclusion of reasonable medical
judgment about inmate health.”)(emphasis in original); Berry v.
Peterman, 604 F.3d 435, 441 (7th Cir. 2010) (“[C]ourts may consider
the ‘cost of treatment alternatives [when] determining what
constitutes adequate, minimum-level medical care,’ . . . ‘but medical
personnel cannot simply resort to an easier course of treatment that
they know is ineffective.’”)(quoted cites omitted).

                                IV.

      The legal principles in a §1983 case such as this are well
established. It is a violation of the Eighth Amendment to the United
States Constitution for a person acting under color of state law to
display deliberate indifference to a serious medical condition of a
prisoner. Petties v. Carter, 836 F.3d 722, 727 (7th Cir. 2016). A
serious medical condition is one diagnosed by a physician or one
that is so obvious that even a lay person could see it. Stated
another way, it is a violation of the Eighth Amendment for a person
acting under state law to show conscious disregard of a substantial
risk of serious harm. Rasho v. Elyea, 850 F.3d 318, 324 (7th Cir.
2017).

                                V.

     There is no dispute that Hep C is a serious medical condition
or that it is present in significant numbers in the IDOC prison
population. There is a sharp dispute as to when treatment should
begin.



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      The plaintiffs, and the court-appointed physicians, consistent
with the AASLD Guidelines, say treatment should begin as soon as
possible. The defendants’ physicians, driven by the availability of
funding for treatment, say that treatment should begin only when
the inmate reaches a fibrosis level of 3. They defend that opinion by
pointing out that Hepatitis C is a slow advancing disease normally
and that no real liver damage will be incurred by waiting to treat
until fibrosis level 3. They also support their opinion by observing
that the liver is an organ that often can and does regenerate itself.

      Drs. Thomas, Batey and Prosky all say that treatment should
begin as soon as possible because to wait until a inmate’s fibrosis
level is 3 is to run the risk that the level is really 4 because of the
inaccuracy of the fibrosis level test and the inability to predict how
fast the disease will progress in any one patient. Too, and quite
serious, is the beginnings of cirrhosis of the liver. In addition, in
inmates who have an accompanying condition such as diabetes or
HIV or others, the inmate is at risk of further liver complications
developing. Cancer is an example. Those are serious risks not to
be ignored.

                                   VI.

      The IDOC has outsourced its responsibilities for health care of
its prisoners to the corporate entity, Wexford. The record is unclear
as to the precise arrangements the IDOC has with Wexford. It
appears that Wexford was retained on a fixed budget to supply the
personnel and care for the prisoners. It is Wexford personnel who
test the prisoners for the presence of the Hepatitis C virus and
monitor the fibrosis level in those who are infected. It is Wexford
that will inform Drs. Young and Patel of the need for treatment of
Hepatitis C inmates and Wexford that will administer the
pharmaceuticals provided by Drs. Young and Patel at UIC. IDOC
pays the UIC Hospital for the pharmaceuticals, but who IDOC pays
for the work-up labs and other testing is unclear. Drs. Young and
Patel know nothing about the business arrangement of paying.
What is obvious, however, is that the prisoners are totally under the

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control of Wexford for all their medical needs. The prisoners cannot
get referred for Hepatitis C treatment unless the Wexford doctors
make the referral.

      That raises the following conundrum: Quaere: If the State of
Illinois decides, as a matter of policy, not to fund the treatment of
its prisoners with Hepatitis C fully, and IDOC implements that
policy by limiting the funds provided to Wexford, which in turn
follows protocols for treatment that delay treatment until the
disease is in full progress, are those actions under color of state law
that infringe a prisoner’s rights under the Eighth Amendment? See
Glisson v. Indiana Department of Corrections, 849 F.3d 372 (7th Cir.
2017).

                                  VII.

      Which leads the court back to the question raised at the
beginning of this order: If basing the time to begin treatment, not on
a purely medical reason, but on a financial, political, societal basis,
how can the defendants be anything but consciously disregarding a
substantial risk of medical harm? Can the State of Illinois be
excused from the federal constitutional requirement that it not be
deliberately indifferent to a prisoner’s serious medical condition?
Certainly the plain wording of Article VI §2 of the U.S. Constitution
must have some impact: “This Constitution, . . . shall be the
supreme law of the land[.]” Or the Fourteenth Amendment: “No
State shall . . . deprive any person of life, liberty, or property,
without due process of law.” If a state may not subject its prisoners
to cruel and unusual punishment, and deliberate indifference to a
serious medical condition is cruel an unusual punishment, then
how can the state not provide treatment because it is too expensive
and the state does not want to raise the money? Is it because they
are convicted felons and unworthy?




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                                 VIII.

      In final analysis, the question to be resolved by the court at
this juncture of the case is this:

Quaere: Within reasonable medical certainty, at what fibrosis level
reading, in a patient infected with the Hepatitis C virus, raises a
substantial risk of serious harm to the patient if left untreated?

     The court makes the following findings of fact:

     The accepted medical treatment of patients with Hepatitis C is
given by the Drs. Thomas, Batey and Prosky based on purely
medical grounds.

      The court finds that all inmates should be tested for Hepatitis
C upon admission to the Illinois Department of Corrections.
Inmates who test positively should be tested immediately to
determine fibrosis level. The court further finds that inmates who
test positively and have at least one year to serve on their sentence
from admission to release date should be offered treatment with
direct acting antiviral drugs as soon as possible after diagnosis, and,
in any event, no later then testing at a fibrosis level of 2.

      But this finding is too general to meet the specific requirements
of a preliminary injunction order. The court has no information on
which of the plaintiffs these findings would apply to and who would
be eligible for treatment. There is no information about fibrosis
levels, contributing conditions, sentence length, etc., so the court
cannot determine which of the plaintiffs should be referred for
treatment.

                                  IX.

      The court is not, and needs to be, fully informed of the precise
relationship between the IDOC and Wexford. A troublesome
question that lurks in that information is what the State of Illinois is

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trying to do by outsourcing its medical treatment of prisoners. Is it
intended to put a cap on expenses? Is it to avoid liability or shield
itself from liability for medical treatment of its prisoners? The court
needs to be fully informed to render a proper decision in this case.

                         Enter this 6th day of April, 2017.

                               /s/Harold A. Baker
                          ______________________________
                                 Harold A. Baker
                           United States District Judge


1. The current IDOC guidelines screen all offenders for Hepatitis C antibodies. A diagnosis of
Hepatitis C is confirmed at the inmate’s parent facility and further work-up is done. If an
inmate has less than 12 months left on his sentence, he is not treated. Inmates are referred to
the UIC Telemedicine Liver Clinic to be considered for treatment if they have certain other
conditions or cirrhosis, if they have an “APRI score” greater than or equal to 2, or if they have a
fibrosis level of 3 or greater. Otherwise, the inmate if monitored every six months. IDOC
Hepatitis C Guideline, Def.’s Ex. 12.)

2. The current AASLD guidelines call for the treatment of all patients with Hepatitis C unless
they have short life expectancies that will not be helped by that treatment or other treatment.
Prior AASLD guidelines prioritized treatment because “the infrastructure . . . did not yet exist to
treat all patients immediately.” www.hcvguidleines.org (“When and in whom to Initiate HCV
Therapy”)(last visited 4/4/17). The prioritization guidelines have been removed because “from
a medical standpoint, data continue to accumulate that demonstrate the many benefits, with
the liver and extrahepatic, that accompany HCV eradication.” Id.




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